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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :       No. 20-cr-206 (RDM)
                                            :
v.                                          :
                                            :
SHAHN GILES et al.,                         :
                 Defendants.                :

              GOVERNMENT'S MOTION TO UNSEAL CRIMINAL CASE
                       AND ALL RELATED FILINGS


       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully moves this Court to unseal the above

captioned criminal case and all documents currently under seal in the above captioned case.



                                            Respectfully submitted,
                                            MICHAEL R. SHERWIN
                                            ACTING UNITED STATES ATTORNEY

                                            By:                     /s/
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